     Case 8:22-bk-10975-MH           Doc 11 Filed 06/28/22 Entered 06/28/22 11:22:06                 Desc
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 7                               UNITED STATES BANKRUPTCY COURT

 8                               CENTRAL DISTRICT OF CALIFORNIA

 9                                        SANTA ANA DIVISION

10
      In re:                                           Case No.: 8:22-bk-10975-MH
11
      Craig Clay Ferguson,                             Chapter 13
12
                      Debtor.                          ORDER RE MOTION TO EXTEND
13                                                     DEADLINE FOR FILING CASE
                                                       COMMENCEMENT DOCUMENTS
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16
               On June 27, 2022 as Docket #10, the Debtor filed a Motion to Extend Deadline to File
17
     Schedules or Provide Required Information, and/or Plan (Case Opening
18

19   Documents) (“Motion”).

20             Having reviewed the Motion IT IS ORDERED:

21             The Motion is GRANTED and the new deadline to file case commencement documents
22
     is July 11, 2022.
23
           Date: June 28, 2022
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